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                                                                         P/JF
   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
                                                                      -X

     DUSHANNE ASHLEY

                                      Plaintiff,
                                                                                       MEMORANDUM & ORDER
                    -against-
                                                                                         14-CV-5559(NGG)(SMG)
    DETECTIVE MIKE CIVIL, shield #2114,


                                      Defendant.
                                                                      -X
   NICHOLAS G. GARAUFIS,United States District Judge.

           Plaintiff Dushanne Ashley brought this action under 42 U.S.C. § 1983 against Defendant

   Detective Mike Civil ofthe New York City Police Department alleging that he was denied his

   right to a fair trial. (See Am. Joint Pretrial Order("JTPO")(Dkt. 108) at 2.) The case proceeded

   to trial, during which Plaintiff asserted a claim of denial of his right to a fair trial. (Id.) At the

   close ofthe defense case, the court denied Plaintiff's motion for a directed verdict. (See Trial Tr.

  (undocketed) at 397:25.) On April 3,2019, after three days oftrial, including deliberations, the

  jury rendered a verdict in favor of Defendant.(See Jury Verdict Sheet(Dkt. 121).)

           Plaintiff now renews his motion for judgment as a matter oflaw pursuant to Federal Rule

   of Civil Procedure 50. (See Not, ofR. 50(b) Mot.(Dkt. 126); PI. Mem.in Supp. of R. 50(b)

   Mot.("Mem.")(Dkt. 126); Aff. in Supp. of R. 50(b) Mot.(Dkt. 127).) He asks the court to enter

   a directed verdict on the question ofliability and requests a new trial "solely on the issue of

   damages."^ (See Mem. at 11.) Defendant opposes Plaintiffs motion.(See Opp'n (Dkt. 130).)

  For the reasons set forth below. Plaintiffs motion is DENIED.




 'Although Plaintiff"requests a new trial solely on the issue of damages"(Mem. at 11; Reply at 2), he states that his
  motion is made under Federal Rule ofCivil Procedure 50, his briefs do not mention Federal Rule of Civil Procedure
  59, which concerns motions for a new trial, and he sets forth no independent arguments as to why he is entitled to a

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   I.      BACKGROUND


           The court assumes familiarity with the background ofthis case. See generally Ashley v.

   Civil. No. 14-CV-5559(NGG),2019 WL 1441124(E.D.N.Y. Apr. 1,2019)(addressing motions

   inlimineh Ashley v. City of New York. No. 14-CV-5559(NGG)(SMG),2017 WL 9487192

  (E.D.N.Y. Apr. 17,2017)(recommending that the court grant in part and deny in part

   Defendants' motion for summaryjudgment and deny Plaintiffs motion for summary judgment),

   report & recommendation adopted. 2017 WL 2972145(E.D.N.Y. July 12, 2017), reconsideration

   denied. 2018 WL 6419951 (E.D.N.Y. Dec. 6,2018). Only those facts necessary for disposition

   ofthe instant motion are set forth here.


           On September 22, 2014,Plaintiff commenced this action.(Compl.(Dkt. 1).) Plaintiff

   brought multiple claims imder 42 U.S.C. § 1983 stemming from his April 19,2013 arrest at 125

   East 18th Street, Apartment 51, Brookljm, New York (the "Apartment")and subsequent

   prosecution for criminal possession of marijuana. This Apartment was owned by a man named

   Charles Patrick. (Trial Tr. at 238:1-12.) Plaintiff lived in a room that he rented from Patrick

   starting in January 2012. (Trial Tr. at 237:23-25, 238:24-239:5.) Before the April 19,2013

   arrest. Plaintiff had been arrested twice inside the Apartment for criminal possession of

   marijuana. fSee Trial Tr. at 246:21-247:4.) Defendant Civil was present for both prior arrests.

  (See id. 305:12-14: 376:22-377:3.) Plaintiff claims, however, that by April 19,2013, he was no

  longer living at the Apartment, and was instead living at his girlfriend's apartment. (Trial Tr. at

  250:23-251:1.)




  new trial on damages. Accordingly,the court does not treat Plaintiffs motion as one for a new trial under Federal
  Rule of Civil Procedure 59.
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          On April 19,2013, Defendant Civil executed a search warrant at the Apartment. Csee

   id. at 327:2-3.) During his search. Defendant Civil foimd 18 small plastic bags of marijuana in

   the living room ofthe Apartment. CSee id, at 323:4-19, 325:5-7.) Several ofPlaintiffs

   possessions, including an air mattress bed, dresser, clothing, weights, a photograph of him with a

   woman, and a cat, were in the Apartment. CSee id. at 249:2-250:1, 322:9-14, 333:24-334:7.)

   Defendant also stated that he knew the room where the marijuana was found to be Plaintiffs

   bedroom based on "[his] investigation and previous search warrants." (Id,at 333:15-16.) At the

   time the search warrant was executed, there was an individual sleeping on the floor in a sleeping

   bag next to Plaintiffs bed. (Id at 334:3-4.)

          Plaintiff was not present at the Apartment when the search was executed early in the

   morning on April 19,2013, but he arrived shortly thereafter while officers were still in the

   Apartment. (See id. at 326:15-19.) He was placed under arrest, along with Charles Patrick and

   Jose Carlos,the individual who had been sleeping on the floor. (See id. at 325:14-15.)

          The criminal complaint signed by Defendant on April 19, 2013 (the "Original

   Complaint") alleged that Plaintiff committed the offenses of Criminal Possession of Marijuana in

  the Fourth Degree, Criminal Possession of Marijuana in the Fifth Degree, and Unlawful

  Possession of Marijuana. (See PX 1; DX A; Trial Tr. at 132:11-14.) A person is guilty of

   criminal possession of marijuana in the fourth degree when he "knowingly and unlawfully

   possesses" more than two oimces of marijuana. N.Y. Penal Law § 221.15. A person is guilty of

  criminal possession of marijuana in the fifth degree when he "knowingly and unlawfully

  possesses" more than 25 grams of marijuana. Id,§ 221.10. Finally, a person is guilty ofthe

  lesser charge of unlawful possession of marijuana when he "knowingly and unlawfully

  possesses" marijuana. Id,§ 221.05. To "possess" marijuana means to "have physical possession
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   or otherwise exercise dominion or control" over the marijuana. Id. § 10.00(8). Knowing

   possession of marijuana(or other contraband) can be inferred where an individual has "dominion

   or control" over the area where the drugs are found. Chalmers v. Mitchell. 73 F.Sd 1262,1272

  (2d Cir. 1996)(discussing N.Y. Penal Law § 10.00(8)).

          The Original Complaint stated that Detective Civil "observed [Plaintiff and Jose Carlos]

   in possession of approximately two ounces of marihuana, in that the informant did recover said

   quantity of marihu^a from the floor inside a room in which [Plaintiff and Jose Carlos] were

   sitting." (PX 1;^Trial Tr. at 140:4-8.) The prosecution filed a superseding information (the

  "Superseding Complaint") dated April 30,2014 that differed from the Original Complaint only

  in its statement that Plaintiff arrived after Defendant:


                  "[Detective Civil] observed [Plaintiff and Jose Carlos] in possession
                  ofapproximately two ounces of marihuana,in that [Detective Civil]
                  entered said location and observed defendant Jose Carlos on the
                  floor and defendant Dushanne Ashley did enter said location shortly
                  thereafter and state in sum and substance, see this is what happens
                  when you let strange people into our apartment, and [Detective
                  Civil] did recover said quantity of marihuana from the floor."

  (DX A;^Trial Tr. at 139:23-140:8,102:19-20,141:4-6.) Plaintiff appeared in court

  approximately four times in connection only with this arrest, and eleven times in connection with

  this arrest and others. [See Trial Tr. at 232:4-8,268:18-20.)

          The state courtjudge ultimately dismissed the Superseding Complaint as "facially

  insufficient." (Trial Tr. at 124:17(Chad LaVeglia testifying).) She stated: "Just because it is

  your home, you cannot control what people bring into your home,and obviously they said they

  see somebody with the stuff and he comes in subsequently." (Id. at 124:13-16(Chad LaVeglia

  testifying).)
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   II.    LEGAL STANDARD


          Federal Rule of Civil Procedure 50 "imposes a heavy burden on a movant, who will be

   awarded judgment as a matter oflaw only when 'a party has been fully heard on an issue during

   a jury trial and the court finds that a reasonable jury would not have a legally sufficient

   evidentiary basis to find for the party on that issue.'" Cash v. Ctv. of Erie. 654 F.3d 324,333(2d

   Cir. 2011)(quoting Fed. R. Civ. P. 50(a)(1)). "That burden is particularly heavy where... the

  jury has deliberated in the case and actually retumed its verdict in favor ofthe nonmovant." Id.

  (internal quotation marks and citation omitted). "In such circumstances, a court may set aside

   the verdict only ifthere exists such a complete absence of evidence supporting the verdict that

   the jury's findings could only have been the result of sheer surmise and conjecture, or the

   evidence in favor ofthe movant is so overwhelming that reasonable and fair minded persons

   could not arrive at a verdict against it." Id (intemal quotation marks and citation omitted). "[I]n

   entertaining a motion for judgment as a matter oflaw,the court should review all ofthe evidence

   in the record. In doing so, however,the court must draw all reasonable inferences in favor ofthe

   nonmoving party, and it may not make credibility determinations or weigh the evidence."

   Reeves v. Sanderson Plumbing Prods.. Inc.. 530 U.S. 133,150(2000)(citations omitted).

  III.    DISCUSSION


          Claims of denial ofthe right to a fair trial "based on fabrication ofinformation" arise in

  cases where "(1)[an] investigating official(2)fabricates information(3)that is likely to

  influence a jury's verdict,(4)forwards that information to prosecutors, mid(5)the plaintiff

  suffers a deprivation of life, liberty, or property as a result." Gamett v. Undercover Officer

  C0039. 838 F.3d 265,279(2d Cir. 2016)(emphasis added)(describing the standard established

  in Ricciuti v. N.Y.C. Transit Auth.. 124 F.3d 123(2d Cir. 1997)). As this court noted in Ashlev.
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   2018 WL 6419951, at *3,"[tjhe manufacturing offalse evidence 'in and of itself... does not

   impair anyone's liberty, and therefore does not impair anyone's constitutional right.'" Id.

  (quoting Zahrey v. Coffey. 221 F.3d 342, 348(2d Ctr. 2000)(citation and quotation marks

   omitted)).

            Although Plaintiff argues that he proved all necessary elements of his denial of a fair trial

   claim (see Mem. at 1), the core ofthe dispute between the parties is over the third and fifth

   elements ofthe denial offair trial claim as framed by the Second Circuit in Gamett. (See Mem.;

   Opp'n at 1-7.) First, the parties dispute whether the jury could have found that the false

  statement contained in the original criminal complaint—^that Plaintiff was already sitting in the

  room where the marijuana was found at the time the search was executed—constituted evidence

  "likely to influence ajury." Second,the parties dispute whether there was sufficient evidence

  from which the jury could have concluded that Plaintiff suffered a deprivation ofliberty "as a

  result" ofthat false information.^

            A.       Fabrication of Evidence


           "Whether [] fabricated evidence is likely to influence ajury's decision can be satisfied by

  showing that the fabricated evidence was material to the prosecutor's case." Hanson v. N.Y.C..

  No. 15-CV-1447(MKB),2018 WL 1513632, at *17(E.D.N.Y. Mar. 27,2018)(citing Gamett.




  ^ The parties also dispute whether, under the Supreme Court's recent decision in McDonoueh v. Smith.Plaintiff
  must show that his prosecution ended with a favorable termination. (Opp'n at 1,7-9.) S^ McDonoueh v. Smith.
  139 S. Ct. 2149,2158(2019)(holding that a claim "asserting that fabricated evidence was used to pursue a criminal
  judgment" accrues when the criminal proceedings against a defendant terminate in his favor); Harper v. Va. Den't of
  Taxation. 509 U.S. 86,97(1993)(holding that when the Supreme Court "applies a rule offederal law to the parties
  before it, that rule is the controlling interpretation offederal law and must be given full retroactive effect in all cases
  still open on direct review and as to all events, regardless of whether such events predate or postdate om
  announcement ofthe rule"). Because, as discussed below,the court fmds that the evidence adduced at trial provided
  a sufficient basis for a reasonable juiy to find that Plaintifffailed to prove that the false statement made by
  Defendant was likely to influence ajury and/or that this statement was not the proximate cause ofPlaintiffs
  deprivation ofliberty, the cotirt does not consider the relevance of a favorable termination analysis to his claim.
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   838 F.3d at 277; Ricciuti, 124 F.3d at 129-30). In Gamett. the Second Circuit indicated that

   fabricated evidence is material when it may affect "the prosecutor's decision to pursue charges

   rather than to dismiss the complaint without further action" or could influence "the prosecutor's .

   .. assessments ofthe strength ofthe case."                 Gamett. 838 F.3d at 277.

            Plaintiff argues that the evidence here showed that Defendant forwarded fabricated

   evidence to a prosecutor—^in the form of a statement that Plaintiff was present in the apartment

   where marijuana was found at the time the search warrant was executed—and that this

   fabrication was "certainly material." (Mem. at 7.) He argues that "[bjeing seen sitting next to

   drugs is potent evidence of dominion and control"(Reply(Dkt. 132) at 3), and contends that

   dismissal ofthe Superseding Complaint as facially insufficient shows that the other facts linking

   Plaintiffto the bedroom and the marijuana were "not enough for a facially sufficient complaint"

  (Mem. at 7).

            The court finds, however, that there was a legally sufficient evidentiary basis for a

   reasonable jury to conclude that Defendant's false statement was not material to the prosecutor's

   case or otherwise likely to influence a jury. For example, during the trial, witnesses testified that

   Plaintiff lived in the apartment where the marijuana was found (see Trial Tr. at 56:13(neighbor

   stating that Plaintiff"lives in the building")), that PlaintifPs belongings, including his dog and

   cat, were present in the room on April 19,2013 (see Trial Tr. 217:15-22,218:12-21,241:16-17,

   321:13-322:17), and that Plaintiff paid rent of$80 per week^ (Trial Tr. 251:2-8). Defendant also

   testified that he informed an assistant district attomey or paralegal, who was draftiug the criminal




   ^ Plaintifftestified that he paid this $80 per week to Charles Patrick so that he could keep his cat at the Apartment,
   but that he himself was no longer living there. tSee Trial Tr. at 250:18-251:11.) In light ofthe evidence before it,
  however, including that Plaintiff went to the Apartment every day to feed his cat and take care of his litter box, the
  jury may not have found Plaintiffs explanation—^that the rent was only on behalf of his cat and that he himself had
   moved out—credible.
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   complaints, that he believed Plaintiff was connected to the marijuana found in the Apartment for

   multiple reasons:(1)based on the two prior search warrants executed at the Apartment, he

   miderstood Plaintiffto live there;(2)Plaintiff made the following statement to Charles Patrick in

   front of Defendant:"something like. This is why we don't let strangers into our—^into our

   apartment";(3)Plaintiff still had clothes at the Apartment; (4)there was a photograph of

  Plaintiff and a woman on the dresser in the Apartment; and(5)Defendant was aware of a 311

  complaint made by Charles Patrick to the effect that his roommate, whose description matched

  that ofPlaintiff, refused to move out and was selling drugs in the Apartment. ("See Trial Tr. at

  312:20-23, 322:9-14,328:19-329:1; 337:15-24.) The jury also heard testimony that the

  prosecution filed the Superseding Complaint without the false statement instead of dismissing

  the case against Plaintiff. (Id. at 141:14-17,23-25,142:1-4.)

          In other words,the jury heard considerable testimony regarding Plaintiff's connection to

  the Apartment and the bedroom where the drugs were found. The jury thus had a legally

  sufricient basis from which it could reasonably conclude that Defendant's statement that Plaintiff

  was already present in the apartment at the time the search warrant was executed was not

  material to the prosecution's case and that such statement was not likely to influence ajury.

          B.      Causation


          Moreover, the evidence adduced at trial provided a sufficient basis from which ajmy

  could conclude that Defendant's allegedly false statement did not cause Plaintiffs deprivation of

  liberty. See Ashlev. 2018 WL 6419951, at *3 (explaining that "Plaintiff must still show his

  deprivation of liberty came 'as a result' ofthe false statement"); see also Gamett. 838 F.3d at

  279-80(noting that in fair trial claims based on fabrication ofinformation require a finding that

  plaintiff suffers a deprivation oflife, liberty, or property "as a result" offalse statement);



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   Caravalho v. City ofNew York. 732 F. App'x 18,24(2d Cir. 2018)(summary order)(rejecting

   fair trial rights claim because ofthe plaintiffs failure to prove detention was a result of

   fabricated paperwork); Bridgeforth v. City ofNew York. No. 16-CV-273(WHP),2018 WL

   3178221,at *8(S.D.N.Y. June 28,2018)(finding a "triable issue" over whether defendant's

   "actions, rather than other processes, that produced" a deprivation ofliberty); Walker v. City of

   New York. No. 1 l-CV-314(CBA),2014 WL 12652345, at *9(E.D.N.Y. Sept. 3,2014)("The

   causation requirement is only met ifthere is sufficient evidence for ajury to determine that the

   fabricated evidence, as opposed to evidence that supported a finding of probable cause, caused

   the plaintiffto be deprived of his liberty."); Deskovic v. Citv ofPeekskill. 673 F. Supp. 2d 154,

   161 (S.D.N.Y. 2009)("[I]t is common ground that in any Section 1983 case, a 'plaintiff must

   prove that the defendant's action was a proximate cause ofthe plaintiffs injury.'")

  (quoting Gierlinger v. Gleason. 160 F.3d 858,872(2d Cir. 1998)). "To be a proximate cause,

   the misconduct must constitute a substantial factor in bringing about the harm." Nnodimele v.

   Derienzo. No. 13-CV-3461 (ARR),2016 WL 337751, at *14(E.D.N.Y. Jan. 27,2016)

  (quotation marks omitted)(citing Hydro Investors. Inc. v. Trafalgar Power Inc.. 227 F.3d 8,15

  (2d Cir. 2000)).

          As explained above,the jury heard considerable evidence regarding Plaintiffs

  coimection to the Apartment and the room where the marijuana was found. The jury also heard

  evidence to the effect that the prosecution moved forward with the case even after the false

  statement was removed from the complaint. tSee Trial Tr. at 141:14-17, 23-25, 142:1-4.) The

  court thus finds that the evidence presented at trial formed a legally sufficient basis for a

  reasonable jury to find that Defendant's statement that Plaintiff was aheady in the room at the

  time the search warrant was executed was not a proximate cause—i.e.."a substantial factor in
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   bringing about,"^id—any deprivations ofliberty that Plaintiff suffered in connection with his

   April 19, 2013 arrest.

                                                   * **




          In sum,the court finds that there was legally sufficient evidence for the jury to find for

   Defendant. Plaintiff has failed to carry his "particularly heavy" burden ofshowing that there was

   "such a complete absence of evidence supporting the verdict that the jury's fmdings could only

   have been the result ofsheer surmise and conjecture, or [that] the evidence in favor of[Plaintiff]

   is so overwhelming that reasonable and fair minded persons could not arrive at a verdict against

   it." Cash.654 F.3d at 333 (citation omitted).

   IV.    CONCLUSION


          For the foregoing reasons, the court DENIES Plaintiffs motion under Federal Rule of

   Civil Procedure 50 for judgment as a matter oflaw (Dkt. 126).

          SO ORDERED.

                                                                        s/Nicholas G. Garaufis
   Dated: Brooklyn, New York
          July ol? ,2019                                               United States District Judge




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